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FoR THE NoRTHERN DISTRICT oF TEXAS_, win mw la 95 ,:'59

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UNITED STATES OF AMERICA
v. No. 4:14-CR-087-O
(Supersedes Indictment returned April
ABBAS ZAHEDI (02) 16, 2014 as to defendants Zahedi and
REGINALD GUY (04) Guy)
SUPERSEDING INDICTMENT
The Grand Jury charges:

At all times material to this Superseding Indictment:
General Allegations

Introduction

l. As set forth more fully below, the defendants, Abbas Zahedi and Reginald
Guy, together With others known and unknown to the grand jury, conspired to defraud
and did defraud health insurers by submitting and causing to be submitted claims for
chiropractic and occupational therapy services that Were not provided. During and in
relation to this health care fraud conspiracy, Zahedi and Guy unlawfully used the means
of identifications of other persons.

The Health Care Benefit Program

2. Health Care Service Corporation Was a private health insurance company.
Blue Cross and Blue Shield of Texas (BCBS), a division of Health Care Service

Corporation, Was a private health plan offered in the State of Texas that provided health

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care benefits to individuals enrolled for coverage under individual and group policies.
Individuals receiving benefits through BCBS were referred to as “members” or
“subscribers.”

3. BCBS was a “health care benefit program” as defined by 18 U.S.C. § 24(b),
that affected commerce, and as that term is used in 18 U.S.C. § 1347.

Claim Submission Process

4. Physicians, chiropractors, occupational therapists, physical therapists, and
other health care providers were able to contract with BCBS to become approved BCBS
providers. Each approved BCBS provider was assigned a unique provider identification
number to use when submitting claims for payment for health care services provided to
BCBS members.

5. To obtain payment from BCBS, the provider or the provider’s designee was
required to submit claims to BCBS that included, among other things, the following
information: the provider’s unique BCBS provider number, the patient’s name, the
patient’s diagnosis described by a standardized code, a description of the service(s)
rendered to the patient using standardized codes, the date and location the services were
provided, and the amount claimed for payment.

6. BCBS relied on the provider to submit true and accurate claims.

Coverzge of Chiropractic and Occupational Therapv Services

7. Each individual and group policy limited the number and types of covered
services. As a general rule, chiropractic care was limited to 10 visits annually, while
physical and occupational therapy could continue for 20 or more visits, based on review

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and medical necessity. The contracts between BCBS and health care providers stated that
BCBS paid only for approved services.

The Defendants

8. Abbas Zahedi, a chiropractor, entered into a professional provider
agreement with BCBS on April l, 2001. At that time, he received a BCBS provider
identification number, which he was required to use when submitting claims to BCBS
regardless of the location in which he practiced. Zahedi owned and operated DFW
Rehab & Diagnostics (DFW). Zahedi operated DFW out of the office of Metroplex
DFW Sports Rehab Centers (Metroplex) in Arlington, Texas, from approximately
January 2008, through late 2009 or early 2010. In March 2010, Zahedi moved DFW out
of Metroplex’s office and established DFW at a stand-alone location in Grand Prairie,
Texas, until it closed in approximately September 2012.

9. Reginald Guy worked at Lear Corporation (Lear), in Arlington, Texas,
from 2000 until he was terminated in November 2009. Beginning in or about 2003, until
2009, Guy was a Lear union representative While employed at Lear and while acting as
a Lear union representative, Guy and others he recruited referred numerous Lear
employees to Metroplex as part of a fraudulent referral and billing scheme. After Guy’s
termination from Lear, Guy was hired as the office manager for Metroplex, and used that
position to continue to recruit Lear employees to Metroplex. Guy served as the office
manager for Metroplex from approximately the beginning of 2010, until approximately
early to mid-201 l, shortly before the Metroplex clinic closed. In about March or April
2011, Zahedi hired Guy as a consultant for DFW at its stand-alone location in Grand

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Prairie. After Guy began working for Zahedi at DFW, Guy helped transfer Lear patients
and patient information from Metroplex to Zahedi at DFW, where the fraudulent referral
and billing scheme continued.

The Coconspirators Not Named as Defendants Herein

10. J ames Sterns owned and operated Metroplex in Arlington, Texas. Sterns
was not a licensed health care professional and, as such, he personally could not provide
health care services. Without a licensed health care professional’s provider number,
claims submitted by Metroplex to BCBS would not have been approved and paid.
Zahedi started working at Metroplex in 2008. In approximately early 2010, Sterns hired
Guy to be the office manager of Metroplex.

11. Gregory Wattron was an occupational therapist at Metroplex from in or
around 2008, until July 2011, and at DFW from in or around June 2010, until August 31,
2011. As an occupational therapist, Wattron was licensed to provide functional capacity
evaluations (FCE) and other occupational therapy including services such as manual
therapy, electrical stimulation, massages, hot packs, cold packs, and therapeutic
exercises. Wattron had a BCBS provider identification number, which enabled
Metroplex and Zahedi (through DFW) to submit claims to BCBS.

12. Tina Perkins was responsible for submitting claims to insurance companies
for Metroplex f`rom approximately 2008, through June 2010. Starting in March 2009,
through approximately late 2011, or early 2012, Perkins also worked as the biller and
office consultant for Zahedi at DFW, including at the locations in Arlington and Grand
Prairie.

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13. Donna Harris, Perkins’s sister-in-law, initially was a Metroplex patient. In
exchange for cash payments, however, Harris soon permitted Metroplex to submit claims
to BCBS for services purportedly performed by Zahedi and Wattron, when in fact, she
received no treatment In or about January or February 2011, Zahedi hired Harris to be
the office manager at DFW’s stand-alone office location in Grand Prairie. While acting
as the office manager for DFW, Harris continued to allow Zahedi to submit claims under
Harris’ name to BCBS for services that were not performed.. In addition to the fraudulent
claims submitted by Metroplex and Zahedi at DFW under Harris’ own name, Harris
permitted Zahedi at DFW to submit claims to BCBS for Harris’ immediate and extended

family members for services that they did not receive.

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Count One
Conspiracy to Commit Health Care Fraud
(Violation 18 U.S.C. § 1349)

l4. Paragraphs l through 13 of this Superseding Indictment are realleged and
incorporated by reference as though fully set forth herein.

15. Beginning in or before January 2008, and continuing to May 2012, in the
Fort Worth Division of the Northem District of Texas and elsewhere, the defendants,
Abbas Zahedi and Reginald Guy, together with other coconspirators not named as
defendants herein, J ames Sterns, Gregory Wattron, Tina Perkins, and Donna Harris, did
knowingly and willfully combine, conspire, confederate and agree with each other and
others known and unknown to the grand jury, to violate 18 U.S.C. § 1347, that is, to y
devise and to execute a scheme and artifice to defraud a health care benefit program
affecting commerce, as defined in 18 U.S.C. § 24(b), that is, BCBS, and to obtain, by
means of materially false and fraudulent pretenses, representations, and promises, money
and property owned by, and under the custody and control of`, the health care benefit
program, in connection with the delivery of, and payment for, health care benefits, items,
and services.

Obiect of` the Consniracv

16. During the course of the conspiracy, Zahedi, Guy, and their coconspirators
knowingly and willfully participated in a fraudulent health insurance billing scheme in
which they submitted claims to BCBS and other insurers for services not rendered. Each
benefitted financially from the fraud. It was the object of the conspiracy for the

defendants to unlawfully enrich themselves by, among other things, falsely billing BCBS

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and other insurance companies for chiropractic and occupational therapy services that
were not provided, and by using the means of identification of other persons to submit
false claims to BCBS. Beginning on or before January 22, 2008, and continuing until on
or about May 25, 2012, the amount billed to BCBS from Metroplex and DFW facilities
under Zahedi’s provider number was $l,786,083 .00, and the amount paid was
$713,104.86. During about the same period, the amount billed to BCBS from Metroplex
and DFW facilities under Wattron’s provider number was $2,482,160.50, and the amount
paid was $1,470,984.39.
Manner and Means of the Conspirag

l7. The manner and means by which the defendants and their coconspirators

sought to accomplish the purpose of the conspiracy included, among other things:
The Scheme to Defraud

18. It was part of the scheme to defraud for Zahedi, Guy, and others to
knowingly submit and cause to be submitted to BCBS, claims for health care services
that the defendants falsely claimed were perforrned. In order to receive payment from
BCBS and other insurers for services that were not provided, Zahedi, Guy, and every
other member of the conspiracy played an active role.

l9. It was part of the scheme to defraud for Guy touse his position as Lear
union representative, Metroplex office manager, and DFW consultant to recruit Lear
employees to Metroplex and DFW so that Metroplex and DFW could submit fraudulent

claims (i.e., services purportedly performed by Zahedi and others that were not actually

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provided). Guy was aware of the fraudulent billing scheme during his time as Lear union
representative, Metroplex office manager, and DFW consultant

20. In addition to recruiting Lear employees to Metroplex, in the course of the
conspiracy, Zahedi and Guy began using the names and health insurance information of
members of Guy’s family to submit false claims to BCBS.

2l. It was part of the conspiracy to collect the names, health insurance
inforrnation, and other means of identification of individuals, whether or not they were

patients of Metroplex and DFW or had legitimate injuries. It was further part of the
8 conspiracy to use the names and means of identification of those individuals to submit
false claims to BCBS for services that were not provided.

22. It was part of the scheme to defraud for Guy and Zahedi to waive patient
out-of-pocket expenses for co-payments and deductibles at Metroplex and DFW.

23. Sterns provided the facility, administrative staff (including Perkins), and
equipment at Metroplex and DFW, until Zahedi left the Metroplex facility and began
operating DFW separately in Grand Prairie.

Fraudulent Billing

24. Beginning at least in 2008, using the provider numbers of Zahedi and other
licensed health care professionals, Zahedi, Sterns, and after the beginning of 2010, Guy,
submitted, or caused to be submitted, claims to insurance companies for services not
performed. Sometimes, this fraudulent billing occurred without the knowledge of the
chiropractor or therapist whose provider number was used. In late 2008, Zahedi agreed
to work with Sterns at Metroplex full-time. Sterns provided the patients and the facility

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to Zahedi. Zahedi, who had a BCBS health care provider number, enabled Metroplex to
submit claims to BCBS using his provider number. Zahedi knew that Metroplex was
submitting claims to insurers for services not rendered.

25. In or about March 2009, Wattron agreed to allow Sterns and Zahedi to use
his name and provider number to submit claims for physical medicine and rehabilitative
services at Metroplex and DFW that Wattron would not perform or supervise in exchange
for cash payments.

26. Zahedi and Guy, as well as Sterns, Perkins, Harris, and Wattron caused
claims to be submitted to BCBS for health care services not performed. Zahedi would
establish the treatment plan as the doctor. Zahedi would be listed on the claim forms as
the health care service provider initially. lt was part of the scheme to then use Wattron’s
health care provider number rather than Zahedi’s and submit claims for unperformed
occupational therapy services.

27 . On occasion, Metroplex and/or DFW billed BCBS under both Zahedi’s
and Wattron’s provider numbers for the same patients on the same dates of service, and
for the same treatments. Often, claims Metroplex and DFW submitted under Zahedi’s
number, which BCBS processed and denied, would be resubmitted for payment under
Wattron’s number.

28. Perkins was primarily responsible for the billing at Metroplex and at DFW.
Perkins agreed with Sterns, Zahedi, and Wattron to file false health insurance claims
with BCBS in exchange for a percentage of the fraudulent proceeds. The false claims
included additional services not performed when a patient received some treatment, and

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claims for dates of service on which the patient was not treated. While at Metroplex and
DFW, Perkins submitted, and caused to be submitted, claims to BCBS using Zahedi’s
and Wattron’s provider numbers for services she knew were not rendered.

29. In addition to using Lear employees for fraudulent billing, Guy and Harris
permitted Metroplex and DFW to use insurance information from their own immediate
and extended family members to submit numerous claims for medical treatment to BCBS
for services not rendered. During the course of the fraudulent scheme, Metroplex and
DFW falsely billed BCBS $414,424 for treatment for Guy and his family members; and
Metroplex and DFW were paid $254,996.64 for those claims. In return for these false
claims and the Lear “referrals,” Guy received employment, temporary living quarters,
cash, and other benefits.

30. Metroplex and DFW falsely billed BCBS $652,655 for Harris’s family
4 members, and were paid $331,751.80 for the claims. In return, Harris received cash
payments. Also, because certain of her family members had serious health conditions,
the scheme enabled her to meet her health insurance policy deductible with no out-of-
pocket expenditures

Concealment and Cover-uD
Patient Kickbacks

31. For the fraudulent billing of health insurance companies for unperformed
services to expand and continue, Zahedi, Guy, Sterns, and Perkins, developed and
participated in a two-part patient kickback program. The first part of the kickback
program consisted of paying existing patients in cash for each patient they referred to

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Metroplex. The second part of` the kickback program consisted of giving existing patients
cash, prizes, and other non-monetary incentives, such as false work excuse notes, in
exchange for the patients’ agreement to allow Zahedi, Guy, Sterns, and Perkins, to
submit the maximum amount of claims permitted under the patient’s name and insurance,
despite those services not being provided. Guy personally made cash payments to
patients as part of this scheme. Zahedi gave cash to Perkins and Harris to pay his
patients for him.

32. When patients complained about the excessive number of false insurance
claims in their names, Guy and Sterns paid them additional cash to placate them.
Metroplex held patient appreciation days, where gift cards and prizes were raffled to the
patients participating in the scheme. Later, at DFW in Grand Prairie, Zahedi used the
same patient appreciation day model as Metroplex.

33. Using money Zahedi and/or Sterns provided to her at Metroplex and/ or
DFW, Perkins paid patients various amounts of cash to allow Metroplex and DFW to
continue submitting false medical insurance claims under their policies for services not
rendered. Zahedi would also provide the patient kickback money in sealed envelopes to
Harris, which she then provided to the patients.

Falsified Records

34. In order to conceal the fraud, records had to be created or modified to
justify the services being fraudulently billed. Zahedi falsified his patients’ medical
records, so that any on-site inspection would show that the medical files were consistent
with the claims submitted. Zahedi and Perkins instructed Harris and other staff members

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to create false records in patient charts for services not rendered. Other members of the
office staff, also falsified documents for the medical records, such as, “Subjective,
Objective, Assessment and Plans,” known as “SOAP” notes, to indicate that prescribed
therapy was performed when, in fact, it was not. At Zahedi’s direction, Harris and others
also had patients sign blank SOAP notes so they could use them to bill false claims in the
future.

35. After Perkins left Metroplex, Guy became involved in the submission of
false claims for services not rendered. Guy also participated in falsifying documents
necessary to the fraudulent billing scheme. On more than one occasion, Guy, met with a
Lear patient in his office, only to emerge with a stack of blank SOAP notes that had been
signed by the patient. Guy gave these blank SOAP notes to office staff for filing in the
patient files.

All in violation of 18 U.S.C. § 1349 (18 U.S.C. § 1347).

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Counts Two through Six
Health Care Fraud
(Violation 18 U.S.C. §§ 1347 and 2)

 

36. Paragraphs l through 35 of this Superseding Indictment are realleged and
incorporated by reference as though fully set forth herein.

37. On or about the dates specified below, in the Fort Worth Division of the
Northern District of Texas, and elsewhere, the defendants, Abbas Zahedi and Reginald
Guy, together with their coconspirators, in connection with the delivery and payment for
health care benefits, items, and services, did knowingly and willfully execute, and
attempt to execute, a scheme and artifice to defraud BCBS, a health care benefit program
affecting commerce, as defined by 18 U.S.C. § 24(b), and to obtain, by means of
materially false and fraudulent pretenses, representations, and promises, money and
property owned by, and under the custody and control of`, BCBS, that is, the defendants
submitted, and aided and abetted in submitting, false and fraudulent claims to BCBS,
seeking payment for physical medicine and rehabilitative services that were not provided,

each a separate Count:

 

 

 

 

 

 

 

 

 

 

 

 

Date of BCBS . Amount
Count Service Member Claim Number Submitted
2 07/10/2009 R.K. 200920551012190X $405.00
3 08/27/2009 Guy 200924750723 740X $270.00
4 09/16/2011 M.G. 2011263512L2470X $662.00
5 10/10/2011 Guy 201129151B12500X $331.00
6 12/23/2011 D.H. 201205103122550C $331.00

 

All in violation of 18 U.S.C. §§ 1347 and 2.

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Counts Seven through Ten
Aggravated Identity Theft
(Violation 18 U.S.C. §§ 1028A and 2)

38. Paragraphs 1 through 37 of this Superseding Indictment are realleged and
incorporated by reference as though fully set forth herein.

39. ()n or about the dates specified below, in the Fort Worth Division of the
Northern District of Texas, and elsewhere, the defendants, Abbas Zahedi and Reginald
Guy, and their coconspirators did knowingly transfer, possess, and use, without lawful
authority, a means of identification of another person during and in relation to violations
of 18 U.S.C. § 1347, Health Care Fraud, knowing that the means of identification
belonged to actual persons, by possessing, transferring, and using the names, BCBS

member information, and other means of identification of another person to obtain

payment for health care services that were not provided, each a separate Count:

 

 

 

 

 

 

Date of BCBS . Amount

Count Service Member Claim Number Submitted
7 09/02/2011 M.G. 201124951H89340X $572.00
8 09/09/2011 M.G. 2011256510F7550X $662.00
9 09/27/2011 A.H. 201127751856F60X $331.00
10 12/23/2011 A.H. 201136150X32830X $331.00

 

 

 

 

 

 

All in violation of 18 U.S.C. §§ 1028A(a)(1) and 2.

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Forfeiture Notice
(18 U.S.C. § 982(a)(7) and 18 U.S.C. § 982(a)(l))

41. Upon conviction of the offenses alleged in Counts One through Six of this
Superseding Indictment, and pursuant to 18 U.S.C. § 982(a)(7), defendants Abbas
Zahedi and Reginald Guy shall forfeit to the United States any property, real or
personal, constituting or derived from, directly or indirectly, the gross proceeds traceable
to the commission of the offense.

42. The above-referenced property subject to forfeiture includes, but is not
limited to, a “money judgment” in the amount of U.S. currency constituting the gross
proceeds traceable to the offense.

Substitute Assets y

43. Pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b), if
any of the above-described property subject to forfeiture, as a result of any act or
omission of the defendant, cannot be located upon the exercise of due diligence; has been
transferred or sold to, or deposited with, a third person; has been placed beyond the
jurisdiction of the Court; has been substantially diminished in value; or has been
commingled with other property which cannot be subdivided without difficulty, it is the
intent of the United States to seek forfeiture of any other property of the defendant up to

the value of the above-described property subject to forfeiture

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A TRUE BILL.

 

SARAH R. SALDANA
UNITED STATES ATTORNEY

NANCY E. LA`R’soN

Assistant United States Attorney
DC State Bar No. 430780

801 Cherry Street, Suite 1700
Fort Worth, Texas 76102
Telephone: 817-252-5200
Facsimile: 817-252-5455

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

THE UNITED STATES OF AMERICA
VS.

ABBAS zAHEDI (02)
REGINALD GUY (04)

 

INDICTMENT

18 U.S.C. § 1349 (18 U.S.C. § 1347)
Conspiracy to Commit Health Care Fraud
(COUNT l)

18 U.S.C. §§ 1347 and 2
Health Care Fraud
(COUNTS 2-6)

18 U.s.C. §§ 1028A and 2
Aggravated Identity Theft
(CoUNTs 7-10)

18 U.S.C. § 982(a)(7) and 18 U.S.C. § 982(a)(l)
Forfeiture Notice

 

A true bill rendered:

 

FORT WORTH @ MOREPERSON

Filed 1n open court this 14th day of Ma% 2014

 

Summons to issue

 

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D ATES UIS/TRICT JU
(4 I4- C -087-0)

 

 

